                 COURT MINUTES OF CONFERENCE


ESTATE OF JAMES FRANKLIN PERRY et al.,

v.                                                            CASE NO. 12-CV-664-JPS

CHERYL WENZEL et al.




                  HON. J. P. STADTMUELLER PRESIDING

DATE: October 4, 2018                                  TIME SCHEDULED: 11:00 a.m.

COURT DEPUTY/CLERK: Kate Maternowski                   TIME CALLED: 11:00 a.m.

COURT REPORTER: Rich Ehrlich                           TIME FINISHED: 11:20 a.m.

PURPOSE: Status Conference

PLAINTIFF BY: James Gende and Christopher Katers

DEFENDANTS BY: Susan Lappen (for the City defendants) and Timothy Posnanski,

Charles Bohl, and Vicki Arrowood (for the County defendants)

Notes:
11:00 Case called; attorneys James Gende and Christopher Katers appear for the plaintiffs;
       attorney Susan Lappen appears for the City of Milwaukee defendants; attorneys
       Timothy Posnanski, Charles Bohl, and Vicki Arrowood appear for the Milwaukee
       County defendants
11:01 The Court discusses case posture following the referral to Magistrate Judge William
       Callahan, noting that the Court will set the case for trial as soon as the Court’s
       calendar allows
11:04 The Court sets the following dates: trial to begin on Monday, March 25, 2019, at 8:30
       a.m.; final pretrial conference to be held on March 12, 2018, at 8:30 a.m.;
       supplemental final pretrial report due on February 25, 2018, to include an updated
       exhibit and witness list, jury instructions, and verdict form. To the extent the
       parties are unable to agree with respect to any of these items, the supplemental
       report is to include a paragraph from each party presenting its position on the




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       disputed matter. The parties must meet and confer in advance of February 25, 2018
       in order to complete the work necessary to prepare this single document.
11:09 The Court inquires about the status of any claim by the minor plaintiff in this case,
       noting that the status of any such claim must be addressed before trial
11:10 Attorney Gende inquires about format for the February 25 submission; Court
       responds
11:16 Attorney Arrowood raises a scheduling issue; Court responds
11:18 Court advises that a template of the Court’s standard trial scheduling order will be
       made available to the parties via the Court’s staff; the parties are advised to review
       pages 2-4 for direction in preparing the February 25 submission
11:20 Court stands in recess




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